 Case 1:17-cv-01136-PLM-PJG ECF No. 22 filed 09/05/18 PageID.95 Page 1 of 2



                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN


VERNON OARD,

                    Plaintiff,
                                                     Case No. 1:17-CV-1136
                                                     Hon. PAUL L. MALONEY

COUNTY OF MUSKEGON, and                              HEARING REQUESTED
14TH JUDICIAL CIRCUIT COURT,

                   Defendants.


Sarah Riley Howard                                  Laura S. Amtsbuechler
Erin L. Dornbos                                     Laura Bailey Brown
Attorneys for Plaintiff                             Attorneys for Defendants
PINSKY, SMITH, FAYETTE & KENNEDY LLP                JOHNSON ROSATI SCHULTZ &
146 Monroe Center St., NW                           JOPPICH, PC
Suite 805                                           27555 Executive Dr., Suite 250
Grand Rapids, MI 49503-2818                         Farmington Hills, MI 48331
(616) 451-8496                                      (248) 489-4100


                     PLAINTIFF’S MOTION TO COMPEL

      Plaintiff Vernon Oard, through his attorneys, and pursuant to Rule 37 of the

Federal Rules of Civil Procedure, moves this Court for an order compelling

Defendants to produce documents responsive to his Requests for Production,

specifically Requests 7, 9, and 20, and to produce a comprehensive privilege log

outlining documents that are withheld on the basis of a claimed privilege. This

motion is supported by an accompanying brief.

                                 PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                                 Attorneys for Plaintiff Vernon Oard
 Case 1:17-cv-01136-PLM-PJG ECF No. 22 filed 09/05/18 PageID.96 Page 2 of 2




Dated: September 5, 2018     By:   /s/ Sarah R. Howard
                                   Sarah Riley Howard
                                   Erin Dornbos
                                   Business Address and Telephone:
                                   146 Monroe Center St NW, Suite 805
                                   Grand Rapids, MI 49503
                                   (616) 451-8496
                                   showard@psfklaw.com
                                   edornbos@psfklaw.com




                                                                    2|Page
